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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

ARMINDA AYALA on Behalf of Herself           §
and on Behalf of All Others Similarly        §
Situated,                                    §
                                             §
       Plaintiff,                            §
                                             § CIVIL ACTION NO. 1:22-cv-0059
v.                                           §
                                             §
ASSET PROTECTION & SECURITY                  § JURY TRIAL DEMANDED
SERVICES, L.P.,                              §
                                             §
       Defendant.                            §
                                             §

               NOTICE OF FILING CONSENTS TO JOIN WAGE CLAIM

       Pursuant to 29 U.S.C. § 216(b), the following individuals hereby submit their written

Notice of Consent:

       1.     Eduardo Padillo.

                                            Respectfully submitted,

                                            HODGES & FOTY, L.L.P.

                                          By: /s/ Don J. Foty
                                             Don J. Foty
                                             dfoty@hftrialfirm.com
                                             Fed. ID NO. 711522
                                             Texas Bar No. 24050022
                                             4409 Montrose Blvd., Suite 200
                                             Houston, TX 77006
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                                           ATTORNEYS FOR PLAINTIFF AND CLASS MEMBERS




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                              CERTIFICATE OF SERVICE

       This is to certify that on November 9, 2022 a true and correct copy of the foregoing
instrument was served via the Court’s electronic filing system.

                                                 By: /s/ Don J. Foty
                                                         Don J. Foty




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